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                                                          Exhibit A to the Complaint
Location: Fort Lee, NJ                                                                              IP Address: 100.35.77.47
Total Works Infringed: 36                                                                           ISP: Verizon Fios
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            06-19-     Vixen          08-22-2019    09-17-2019   PA0002216215
           866285F22BDD2737EDF8CC6F918384BB5749309D                              2021
           File Hash:                                                            22:44:35
           2F22B3E69FAD1D95051101B391D6CF35011F1FCB44BDB4AD188F9FB4552CE2D0
 2         Info Hash:                                                            06-18-     Vixen          06-28-2019    08-27-2019   PA0002213233
           11078821AF3FDBEC7D2F9F4ECD2C73CFA0053564                              2021
           File Hash:                                                            17:08:25
           CB74511458C7F117CFE2671A1C5BBC5A96AD86834E28022A0D03674857280BE1
 3         Info Hash:                                                            06-17-     Blacked        04-30-2019    06-03-2019   PA0002178774
           F237CEE3EEB20C5DA4ABE9E7CFE3CCAFA7C73412                              2021
           File Hash:                                                            16:37:10
           39619C25B630FF8BDD2D108E90746D22ECE3F0CEDA752790894A93EDC8CD789C
 4         Info Hash:                                                            05-30-     Blacked        01-10-2018    01-15-2018   PA0002070942
           8CE36676D14129251EBFA56A635011ED87EDB25B                              2021
           File Hash:                                                            20:11:22
           7775D71A7094851F70ACF9B86B0F31E7872D284EF70C478D60F813564C87D955
 5         Info Hash:                                                            05-30-     Vixen          12-25-2017    01-15-2018   PA0002099686
           A82D1B0424E96719DD9332D81EA397519AE08A2A                              2021
           File Hash:                                                            13:48:05
           EABC7CE77B5A50F481FE10F21CEDD25DBB3CF4163AE5C15DDF838F13D0590DC5
 6         Info Hash:                                                            05-23-     Vixen          04-29-2018    06-19-2018   PA0002126677
           DE76424EBE653EFB78920C417AA004896CA39985                              2021
           File Hash:                                                            16:13:04
           52D76523A1F94791C146EDDE9BFC32CE235A58B9E31FDB80B83AB52EDFF94B81
 7         Info Hash:                                                            05-13-     Blacked        10-03-2020    10-22-2020   PA0002261803
           03D7C117BFA2412219C10D1C24574AD8EE30FF80                              2021
           File Hash:                                                            19:20:21
           C47847951A54A2FCFA29E23FF459938D253F03DCE51F911A8845BBEB41AA3833
 8         Info Hash:                                                            05-12-     Blacked        04-26-2021    06-09-2021   PA0002295596
           B103DC0A7CBB5DA036563274CA5BA61E65EF822F                              2021       Raw
           File Hash:                                                            19:52:37
           382280A5D367505B880A44810F2F6EDF4CE0BEB72B7FD8C0D59EE24938429AB6
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         05-12-     Vixen     01-19-2018   03-02-2018   PA0002104769
       4C4DF30753288B57CC05809F384DB62CD7BF96B8                           2021
       File Hash:                                                         17:00:14
       5265A410DC94F0A317C5B3B7B2F5080DF15DC3708A7BEBE440582A52AC146E1A
10     Info Hash:                                                         05-12-     Blacked   04-12-2018   06-18-2018   PA0002126637
       4CCD158CB2585124DA79D0B30276F4BB4498A8CB                           2021       Raw
       File Hash:                                                         02:38:55
       522B35A23D2C537C802673F5F28C39C05B84EEAF40E5AE6D2A1BF20F076042B5
11     Info Hash:                                                         05-11-     Blacked   09-28-2020   10-22-2020   PA0002261800
       BC64A028877BD06BD30DFF8B3D0C6C61145FA3CF                           2021       Raw
       File Hash:                                                         23:02:15
       F3C5F0F912A2629A60A82F46C86E0CD2953543B7EBD73649332D4082672C9731
12     Info Hash:                                                         05-11-     Vixen     07-03-2020   07-16-2020   PA0002248578
       C3557EE4CAF9EE9D7E6D96D460C365D85D571058                           2021
       File Hash:                                                         19:55:28
       36C66D5117EC5DB61DAAF4BC82905B39929CCF8B54D96485C14C465B051A3DDD
13     Info Hash:                                                         05-11-     Blacked   02-08-2021   03-08-2021   PA0002280363
       D6D2B392126D182D1E11AF2DF73EA1753C0C5EE7                           2021       Raw
       File Hash:                                                         19:54:41
       BF8B167C5D3C3CB5CBF77297BEC09D0AFB6411B861159B1A48162BEE0674232C
14     Info Hash:                                                         05-10-     Tushy     08-19-2019   08-26-2019   PA0002213301
       EA1DD8EEA22800180B0A6CB30B5CD5043531DA13                           2021
       File Hash:                                                         23:06:55
       B2340C0B4361F5119BC249F463062C20A845CC0D962E41CD209CB6DA33EC7B48
15     Info Hash:                                                         05-10-     Vixen     07-13-2018   08-07-2018   PA0002131906
       F700A87262BADF901F940B6F6EF349CDFAA0C54C                           2021
       File Hash:                                                         23:06:51
       3A79BF6AC5D5CBB5BD734154778272E4F9F37D109D34A0F4E902493C5E17ACB9
16     Info Hash:                                                         05-10-     Vixen     12-11-2020   01-04-2021   PA0002277039
       010D47EEE0C4400508A6A320A57F2C6CC2D57B61                           2021
       File Hash:                                                         19:53:39
       337290D4DB1A7D7E8C30C7FA677F71F897DD2B8C35766BFC3E2F01EF69F07089
17     Info Hash:                                                         05-10-     Vixen     06-12-2020   06-25-2020   PA0002256359
       DEE85E605BF33AB0496EF626BBDEB1AF0E46B5BE                           2021
       File Hash:                                                         19:51:16
       0E8E3CE72BEDE23E38A9020D57BC07BBA0836DCA56D517A757B35A922AD222B2
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         05-09-     Blacked   04-19-2021   04-27-2021   PA0002288984
       D3155EA9638E1A75FB55C984B097DD22E5E48559                           2021       Raw
       File Hash:                                                         13:29:18
       7AD03F4C262CB06B1021969BE24C175DD04C0D306329850285B3902192472D11
19     Info Hash:                                                         05-07-     Vixen     01-14-2019   02-02-2019   PA0002155387
       957D9F2537B5444076709B211239B683A51C7F77                           2021
       File Hash:                                                         03:35:35
       D3ED799246670DD54C2CC02BE31F7F4FA6AABBDA769C79C46B2566914E88B25C
20     Info Hash:                                                         05-06-     Vixen     10-26-2018   12-10-2018   PA0002145824
       0EC4175FCFC157B8828AA3E6E4CBC22A1C5021BB                           2021
       File Hash:                                                         22:05:49
       63F92B11EA87CB78E0E2F75679BE458730A8CF25A88CC67F79402410A181362F
21     Info Hash:                                                         04-30-     Tushy     02-21-2021   03-08-2021   PA0002280370
       AF5F5B8A0CBE4517D8B9094382053364793E0B07                           2021
       File Hash:                                                         18:25:06
       F25027B6FF0C778172A1070478CD96421152D6B461643F984130226FC0ED6185
22     Info Hash:                                                         04-30-     Tushy     03-28-2021   04-27-2021   PA0002288947
       5A5A386D247C55F9F5A5CC9CBEF4E408B996A7FE                           2021
       File Hash:                                                         18:23:51
       07474B7BD6BBA056FCA31DE6898C16B41654697B82865EEC9831927992159987
23     Info Hash:                                                         04-30-     Tushy     04-04-2021   04-14-2021   PA0002286714
       1F8C4B08841149F8D8D47FEAA83268DADB1C8D88                           2021
       File Hash:                                                         18:22:28
       7ACB95544CC53B724028F63A3CB8D988FC1BEFFD543B9464A86C8695E4713AE5
24     Info Hash:                                                         04-30-     Tushy     04-11-2021   04-27-2021   PA0002288948
       B998B7BDD041A7808D751C80B922943D169DCA90                           2021
       File Hash:                                                         18:21:01
       90C3C43060083796BF2F4730B6F8BEC9003AC66F7E40A7453C3792A1778E5035
25     Info Hash:                                                         04-28-     Tushy     02-15-2020   03-15-2020   PA0002240542
       E51231B920A4ACF7B2A707D79D1001B81EA464F8                           2021
       File Hash:                                                         17:29:55
       69202153822A9FCA5FD896E7CAC6768099626E179B1312F2F55EB5FB8A481DB5
26     Info Hash:                                                         04-27-     Tushy     11-17-2018   12-10-2018   PA0002145827
       4C3623546583430C21484E5FB18F3BF8C2E91CCA                           2021
       File Hash:                                                         19:40:45
       B563FE0BAC28C96D571A81063BB62746ADB81D4D783703F3959A49592E5748FB
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Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         04-27-     Blacked   03-11-2018   04-17-2018   PA0002116091
       49989F05E534A797DEFDCD909D70A53D89AA5E65                           2021
       File Hash:                                                         19:40:39
       753C587471C5B5B46F3C970333FFAFBB54295D77E5B03FB59AC0747C04A8ABE4
28     Info Hash:                                                         04-27-     Tushy     02-10-2020   03-15-2020   PA0002240548
       E509C2B78AE8610FC7D6AE56EAF4223CCC684C3C                           2021
       File Hash:                                                         16:32:43
       C18A196F93C213CE1B7C466F6C408CB3ADC682A0FC45BAF4178C1671166187BF
29     Info Hash:                                                         04-27-     Blacked   01-04-2021   02-02-2021   PA0002280514
       F7C25BAB3537FFF2CC9A0F482F0A101B9227308B                           2021       Raw
       File Hash:                                                         16:30:21
       CAD724871048A36174CAAB696A5F253EC6825C81A37567B15C403C661AD15191
30     Info Hash:                                                         04-27-     Vixen     12-20-2019   02-03-2020   PA0002225564
       EB9F16E1B8FD391D5514494B1D07B561E6F90F4B                           2021
       File Hash:                                                         16:14:21
       B6CA799AEEC80AE95C555D7B64B16725BE370625B1DC53758EC17946FE4D4D63
31     Info Hash:                                                         04-24-     Vixen     05-15-2020   06-08-2020   PA0002243648
       0EADDEAD674C02DF1F6937EA2B46CC6F34717213                           2021
       File Hash:                                                         21:09:22
       D12AD52DF486373A53D70B7F8CA375A1227EBFC17F1C23194B7C10A13321A538
32     Info Hash:                                                         04-24-     Blacked   02-13-2021   02-26-2021   PA0002283713
       90A1D7CB8B1164A9B39FF031F7F327E10DAF2221                           2021
       File Hash:                                                         20:31:23
       4F5E9E0E11E4C06166F581F7E6719DD1E9D3DB561F994F8BD047F9AD7B9D4BED
33     Info Hash:                                                         04-24-     Vixen     11-20-2020   11-30-2020   PA0002266357
       3213C1B60853D862D3017D7A7CF45B946166237A                           2021
       File Hash:                                                         20:31:19
       A949F6C46818DC5CE1EA29222AD83B720A868D2E62837F7E476618BB5C635947
34     Info Hash:                                                         04-24-     Vixen     12-25-2020   02-02-2021   PA0002280511
       2791B602839DE51AC667B48C695745A01FA54A8D                           2021
       File Hash:                                                         20:31:12
       5A570A2E224189E70FAAA309F8F796A44C11D823ADA829737C859B18B5CAE08D
35     Info Hash:                                                         04-17-     Tushy     01-03-2021   02-02-2021   PA0002280504
       C487562810AFAA34065479089E493942708CBAF0                           2021
       File Hash:                                                         05:01:18
       5AC68692228A3B2A3A25488CDD65D6450EB76077068E4307478F33FA90A1C6F3
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Work   Hashes                                                             UTC        Site    Published    Registered   Registration
36     Info Hash:                                                         04-17-     Tushy   10-25-2020   11-24-2020   PA0002265965
       A011B9289145DA1C21100D1FA8913F13781A346B                           2021
       File Hash:                                                         05:00:59
       0BBFC94BEF9BB84B7283F475132353E78127A780D3A737E39CD8E8138FB39CD5
